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                  Exhibit A
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               Exhibit A-1
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                                                                                                    9/3/2020 9:50 AM
                                                                                                      Anne Lorentzen
                                                                                                         District Clerk
                                                                                                Nueces County, Texas


                                                           2020CCV-61221-2
                                                 Cause No. ________________

         KARLA CAVAZOS, Individually and as                        §
         Personal Representative of the Estate of                  §
         ARTURO AMERICO CAVAZOS and as                             §     IN THE COUNTY COURT AT LAW
         Next Friend of M.C., Minor; ARTURO                        §
         CAVAZOS, INDIVIDUALLY and as Heir of                      §
         the Estate of ARTURO CAVAZOS;                             §
         BERTHA CAVAZOS, Individually and as                       §
         Heir of the Estate of ARTURO CAVAZOS,                     §
                                                                   §
         PLAINTIFFS,                                               §
                                                                   §
         v.                                                        §     NUMBER _____
                                                                   §
         ORION MARINE GROUP, LLC; ORION                            §
         MARINE CONSTRUCTION, INC.; ORION                          §
         CONSTRUCTION, L.P.; EPIC                                  §
         MIDSTREAM HOLDINGS, LP; EPIC                              §
         MIDSTREAM HOLDINGS GP, LLC; EPIC                          §
         CRUDE HOLDINGS, LP; EPIC CRUDE                            §
         TERMINAL COMPANY, LP; ENTERPRISE                          §     NUECES COUNTY, TEXAS
         PRODUCTS OPERATING, LLC; and                              §
         ENTERPRISE PRODUCTS PARTNERS,                             §
         LP.                                                       §
                                                                   §
         DEFENDANTS.                                               §

                                           PLAINTIFFS’ ORIGINAL PETITION AND
                                             REQUESTS FOR DISCLOSURES

              TO THE HONORABLE JUDGE OF SAID COURT:

                      Plaintiffs, KARLA CAVAZOS, Individually and as Personal Representative of the

              Estate of ARTURO AMERICO CAVAZOS and as Next Friend of M.C., Minor; ARTURO

              CAVAZOS, INDIVIDUALLY and as Heir of the Estate of ARTURO AMERICO CAVAZOS;

              and BERTHA CAVAZOS, Individually and as Heir of the Estate of ARTURO AMERICO

              CAVAZOS, file this their Original Petition and Requests for Disclosures, complaining of

              Defendants Orion Marine Group, LLC, Orion Marine Construction, Inc., Orion

              Construction, L.P., Epic Midstream Holdings, LP, Epic Midstream Holdings GP, LLC, Epic



              Plaintiffs’ Original Petition and Request for Disclosure                      Page 1


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             Crude Holdings, LP, Epic Crude Terminal Company, LP, Enterprise Products Operating,

             LLC, and Enterprise Products Partners, LP., and for cause of action would respectfully

             show unto the Court as follows:

                                                     I. DISCOVERY TRACK

                      1.1     Plaintiffs plead that this case should be assigned to Discovery Track Three.

                                                            II. PARTIES



                      2.1     Plaintiff, Karla Cavazos, is the wife of Arturo A. Cavazos, Deceased and

             resides in Hidalgo County, Texas. She brings this suit in her individual capacity and as

             personal representative of the Estate of Arturo Aguilar.

                      2.2     Plaintiff, M.C., Minor, is the daughter of Arturo A. Cavazos, Deceased and

             resides in Hidalgo County, Texas. Karla Cavazos brings this suit as next friend of M.C.,

             Minor.

                      2.3     Plaintiff, Arturo Cavazos, is the biological son of Arturo A. Cavazos,

             Deceased and resides in Hidalgo County, Texas. Arturo Cavazos brings this suit in his

             individual capacity and as heir of the estate of Arturo Cavazos.

                      2.4     Plaintiff, Bertha Cavazos, is the biological mother of Arturo A. Cavazos,

             Deceased and resides in Hidalgo County, Texas. Bertha Cavazos brings this suit in her

             individual capacity and as heir of the estate of Arturo Cavazos.

                      2.5     Defendant, Orion Marine Group, LLC. (“OMG”) is a domestic limited

             company, formed in the state of Texas, with headquarters in the State of Texas, doing

             business, engaging in business and transacting business in the state of Texas, and may

             be served with process by serving its Texas registered agent for service: Corporation




             Plaintiffs’ Original Petition and Request for Disclosure                            Page 2


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             Service Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701.

                     2.6      Defendant, Orion Marine Construction, Inc. (“OMC”) is a Florida

             corporation, formed in the state of Texas, with headquarters in the State of Texas, doing

             business, engaging in business and transacting business in the state of Texas, and may

             be served with process by serving its Texas registered agent for service: Corporation

             Service Company, 211 East 7th Street, Suite 620, Austin, Texas 78701-3218.

                     2.7      Defendant, Orion Construction, L.P.(“OCLP”) is a domestic limited

             partnership doing business in the State of Texas. Defendant may be served with process

             by serving its Texas registered agent for service: Corporation Service Company, 211 East

             7th Street, Suite 620, Austin, Texas 78701-3218.

                     2.8      Defendant Epic Midstream Holdings, LP (“EMHLP”) is a foreign limited

             partnership, with headquarters in the State of Texas, doing business, engaging in

             business and transacting business in the state of Texas, and may be served with process

             by serving its Texas registered agent for service: Corporation Service Company, 211 East

             7th Street, Suite 620, Austin, Texas 78701-3218.

                     2.9      Defendant Epic Midstream Holdings GP, LLC (“EMHGP”) is a foreign limited

             liability company, with headquarters in the State of Texas, doing business, engaging in

             business and transacting business in the state of Texas, and may be served with process

             by serving its Texas registered agent for service: Capitol Corporate Services, Inc., 206 E.

             9th St., Ste. 1300, Austin, TX 78701-4411.

                     2.10     Epic Crude Holdings, LP (“ECHLP”) is a foreign limited partnership, with

             headquarters in the State of Texas, doing business, engaging in business and transacting

             business in the state of Texas, and may be served with process by serving its Texas




             Plaintiffs’ Original Petition and Request for Disclosure                          Page 3


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             registered agent for service: Corporation Service Company, 211 East 7th Street, Suite

             620, Austin, Texas 78701-3218.

                     2.11     Epic Crude Terminal Company, LP (“ECTLP”) is a foreign limited

             partnership, with headquarters in the State of Texas, doing business, engaging in

             business and transacting business in the state of Texas, and may be served with process

             by serving its Texas registered agent for service: Corporation Service Company, 211 East

             7th Street, Suite 620, Austin, Texas 78701-3218.

                     2.12     Enterprise Products Operating, LLC (“EPOLLC”) is a domestic limited

             liability company, with headquarters in the State of Texas, doing business, engaging in

             business and transacting business in the state of Texas, and may be served with process

             by serving its Texas registered agent for service: CT Corporation System, 1999 Bryan

             St., Ste. 900, Dallas, Texas 75201-3136.

                     2.13     Enterprise Products Partners, LP (“EPPLP”) is a foreign limited partnership,

             with headquarters in the State of Texas, doing business, engaging in business and

             transacting business in the state of Texas, and may be served with process by serving its

             Texas registered agent for service: CT Corporation System, 1999 Bryan St., Ste. 900,

             Dallas, Texas 75201-3136.

                                                             III. VENUE

                     3.1      Venue is proper in Nueces County because all or a substantial part of the

             events or omissions giving rise to the claims asserted by Plaintiffs against Defendants

             occurred in Nueces County, Texas.

                                                             IV. ACTS

                     4.1      Arturo Americo Cavazos was killed on August 21, 2020 in an explosion and




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             fire that engulfed the dredge he was working on, the Waymon L. Boyd (the “Vessel”). At

             the time of his death, Mr. Cavazos was a Seaman employed by the owners/operators of

             the Vessel, OMG, OMC, OCLP (hereinafter referred to collectively as “Orion”).

                     4.2      At the time of his death, Mr. Cavazos was a leverman, and in the course

             and scope of his employment. Plaintiffs bring this action pursuant to Title 46 U.S.C. § 688.

             As such, pursuant to Title 28 U.S.C. §1916, Plaintiffs bring this action without the

             necessity of pre-payment of costs, fees or the necessity of furnishing security. This is a

             Jones Act wrongful death case, as well as a general admiralty law wrongful death case.

             Plaintiffs bring a claim for unseaworthiness. The injuries and resulting death occurred in

             territorial waters of the United States.

                     4.3      The explosion occurred in the Tule Lake Channel during Orion’s dredging

             work of the Epic Marine Terminal. This was work that Orion was performing for EMHLP,

             EMHGP, ECHLP, ECTCLP (hereinafter referred to collectively as “Epic”). Upon

             information and belief, a pipeline operated by EPOLLC and EPPLP (hereinafter referred

             to collectively as “Enterprise”) was struck during this work, resulting in a catastrophic

             explosion and fire that claimed the life of Arturo Cavazos and others.

                                                             V. ORION

                     5.1      Defendants Orion’s negligence proximately caused the incident in question

             and Arturo Cavazos’s death. As a result of the above mentioned conduct and because of

             the items mentioned below, Orion by and through its employees, borrowed servants,

             agents and representatives, committed acts of omission and commission, which

             collectively and severally, constituted negligence, negligence per se, gross negligence,

             and recklessness which negligence, negligence per se, gross negligence and




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             recklessness were a proximate cause of the death of Arturo Cavazos and of the damages

             suffered by Plaintiffs. Plaintiffs bring these claims pursuant to the Jones Act, as well as

             principals of maritime negligence and unseaworthiness.

                                                              VI. EPIC

                     6.1      Defendants Epic’s negligence proximately caused the incident in question

             and Arturo A. Cavazos’s death. As a result of the above mentioned conduct and because

             of the items mentioned below, Epic by and through its employees, borrowed servants,

             agents and representatives, committed acts of omission and commission, which

             collectively and severally, constituted negligence, negligence per se, gross negligence,

             and recklessness which negligence, negligence per se, gross negligence and

             recklessness were a proximate cause of the death of Arturo A. Cavazos and of the

             damages suffered by Plaintiffs.

                                                        VII. ENTERPRISE

                     7.1      Defendants Enterprise’s negligence proximately caused the incident in

             question and Arturo A. Cavazos’s death. As a result of the above mentioned conduct and

             because of the items mentioned below, Enterprise, by and through its employees,

             borrowed servants, agents and representatives, committed acts of omission and

             commission, which collectively and severally, constituted negligence, negligence per se,

             gross negligence, and recklessness which negligence, negligence per se, gross

             negligence and recklessness were a proximate cause of the death of Arturo A. Cavazos

             and of the damages suffered by Plaintiffs.

                     7.2      The work being conducted at the site location was extremely hazardous and

             fraught with danger; and therefore, constituted an ultrahazardous activity under Texas




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             law. As a pipeline operator, Enterprise was obligated to follow federal regulations. The

             duty to follow these regulations is a non-delegable duty. As such, Enterprise is strictly

             liable for the death of Arturo A. Cavazos and of the damages suffered by Plaintiffs.

                                                          VIII. DAMAGES

                     8.1      As a result of the foregoing injuries and death, the Plaintiffs suffered a

             pecuniary loss of financial support and contribution, pecuniary loss of services, pecuniary

             loss of inheritance, pecuniary loss of nurture, pecuniary loss of care, pecuniary loss of

             counseling, pecuniary loss of guidance, pecuniary loss of counsel, pecuniary loss of

             training, and pecuniary loss of education, the decedent’s pre-death pain and suffering,

             funeral expenses. Plaintiffs make claims for all pecuniary losses available under the law

             for beneficiaries in a wrongful death case.

                     8.2      Nearly all of the elements of damages for personal injury and wrongful death

             are unliquidated and, therefore, not subject to precise computation. Plaintiffs seek to

             recover damages in amounts that the jury finds the evidence supports and that the jury

             finds to be appropriate under all of the circumstances, which said amount is in excess of

             $50,000,000.

                                 IX. WRONGFUL DEATH DAMAGES OF PLAINTIFFS

                     9.1      Decedent, Arturo A. Cavazos was 50 years old and in good health with a

             reasonable life expectancy of many years. During his lifetime, the decedent was a good,

             caring father who gave comfort and companionship to his family. In all reasonable

             probability, he would have continued to do so for the remainder of his natural life.

                     9.2      As a result of the death of Arturo A. Cavazos, his wife and children have

             suffered damages in the past and in the future, including pecuniary damages, mental




             Plaintiffs’ Original Petition and Request for Disclosure                            Page 7


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             anguish, loss of companionship, loss of consortium, and loss of inheritance, for which

             damages are sought under the Texas Wrongful Death Act and Texas Survival Act in an

             amount far in excess of the minimal jurisdictional limits of this Court and of the minimum

             jurisdictional limits of the federal courts.

                                                  X. HEIRS OF THE ESTATE

                     10.1     Plaintiffs would show the court that they are they are the representatives of

             the estate and lawful heirs to the estate of Arturo A. Cavazos, As heirs of the estate, they

             bring this cause of action on behalf of the estate for the conscious pain and suffering and

             terror and mental anguish suffered by Arturo A. Cavazos before his death.

                                                 XI. EXEMPLARY DAMAGES

                     11.1     Plaintiffs seek exemplary damages from each company whose conduct is

             found to have been committed with malice.

                              XII. PRE-JUDGMENT AND POST-JUDGMENT INTEREST

                     12.1     Plaintiffs seek pre-judgment and post-judgment interest as allowed by law.

                                             XIII. REQUEST FOR DISCLOSURE

                     13.1     Pursuant to Rule 194, each Defendant is hereby requested to disclose

             within 50 days of service of this request, all information and material described in Rule

             194.2, Texas Rules of Civil Procedure.

                                                      XIV. JURY DEMAND

                     14.1     Plaintiffs request a trial by jury for all issues of fact. A jury fee has been paid

             timely and properly.

                                                              PRAYER

                     WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be




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             cited to appear and answer herein, that this cause be set down for trial before a jury, and

             that Plaintiffs recover judgment of and from the Defendants for their actual and exemplary

             damages, jointly and severally, in such amount as the evidence may show and the jury

             may determine to be proper, together with the prejudgment interest, post-judgment

             interest, costs of suit, and such other and further relief to which they may show

             themselves to be justly entitled.

                                                                Respectfully submitted,

                                                                LAW OFFICES OF MICHAEL M. GUERRA


                                                       By:     ___________________________
                                                               MICHAEL M. GUERRA
                                                               State Bar No. 00787603
                                                               BBVA Compass Bank Building
                                                               3900 N. 10th Street, Suite 850
                                                               McAllen, TX 78501
                                                               Telephone: (956) 682-5999
                                                               Facsimile: (888) 317-8802
                                                               E-Filing Email: everyone@mmguerra.com

                                                                ATTORNEYS FOR PLAINTIFFS




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               Exhibit A-2
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                                                                                                                 10/2/2020 8:47 AM
                                                                                                                    Anne Lorentzen
                                                                                                                       District Clerk
                                                                                                              Nueces County, Texas

                                              CAUSE NO. 2020CCV-61221-3

             KARLA CAVAZOS, Individually and as
                                            §                            IN THE COUNTY COURT AT LAW
             Personal Representative of the Estate of
                                            §
             ARTURO AMERICO CAVAZOS and as  §
             Next Friend of M.C., Minor; ARTURO
                                            §
             CAVAZOS, Individually and as Heir of
                                            §
             the Estate of ARTURO CAVAZOS;  §
             BERTHA CAVAZOS, Individually and as
                                            §
             Heir of the Estate of ARTURO CAVAZOS,
                                            §
                                            §
                          Plaintiffs,       §
             v.                             §                                                         NUMBER 3
                                            §
             ORION MARINE GROUP, LLC; ORION §
             MARINE CONSTRUCTION, INC.;     §
             ORION CONSTRUCTION, L.P.; EPIC §
             MIDSTREAM HOLDINGS, LP; EPIC   §
             MIDSTREAM HOLDINGS GP, LLC;    §
             EPIC CRUDE HOLDINGS, LP; EPIC  §
             CRUDE TERMINAL COMPANY, LP;    §
             ENTERPRISE PRODUCTS OPERATING §
             LLC; and ENTERPRISE PRODUCTS   §
             PARTNERS L.P.,                 §
                                            §
                          Defendants.       §                                      NUECES COUNTY, TEXAS

                         ORIGINAL ANSWER OF DEFENDANTS ENTERPRISE PRODUCTS
                         OPERATING LLC AND ENTERPRISE PRODUCTS PARTNERS L.P.

                    Defendants Enterprise Products Operating LLC and Enterprise Products Partners L.P.

             (collectively, the “Enterprise Defendants”) file this Original Answer to Plaintiffs’ Original Petition,

             and would respectfully show the Court as follows:

                                                          I.
                                                    GENERAL DENIAL

                    1.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, the Enterprise

             Defendants hereby enter a general denial in this lawsuit. Each of the Enterprise Defendants denies

             each and every allegation made against it by Plaintiffs and demands strict proof of all allegations

             as required by law.




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                                                        II.
                                               AFFIRMATIVE DEFENSES

                    2.      Without assuming any burdens other than those imposed by applicable law, the

             Enterprise Defendants set forth the following affirmative defenses in combination or in the

             alternative, subject to and without waiver of its general denial:

                    a.      Plaintiffs’ recovery against the Enterprise Defendants, if any, is barred by a
                            superseding cause.

                    b.      The Enterprise Defendants hereby seek a determination of their proportional share
                            of responsibility, and Plaintiffs’ recovery against the Enterprise Defendants, if any,
                            is limited to the Enterprise Defendants’ proportional share under Chapter 33 of the
                            Texas Civil Practices and Remedies Code.

                    c.      Plaintiffs’ recovery against the Enterprise Defendants is barred if it is found that an
                            act or omission of a person not a party to the suit was the sole proximate cause of
                            Plaintiffs’ injuries.

                    d.      Enterprise Products Partners L.P. is not a proper party to this lawsuit and lacks the
                            legal capacity to be sued as a Defendant in this lawsuit. Enterprise Products
                            Partners L.P. does not own, operate, or control the pipeline at issue in this lawsuit
                            and it does not employ any individuals.

                    e.      The Enterprise Defendants deny that there is any legally sufficient evidence to support
                            an award of exemplary damages. In the unlikely event that exemplary damages are
                            awarded, the Enterprise Defendants assert that any recovery by Plaintiffs of exemplary
                            damages must be limited by the requirements of Chapter 41 of the Texas Civil Practice
                            & Remedies Code, specifically Section 41.008. In the unlikely event that a verdict is
                            rendered which would otherwise result in a judgment in excess of the exemplary
                            damages permitted by Section 41.008, this Court should reduce the judgment such that
                            the limitations provided by Section 41.008 are not exceeded.

                    f.      The Enterprise Defendants plead the defense of unconstitutionality, in that any award
                            of exemplary damages in this matter would violate both the U.S. and the Texas
                            Constitutions.

                                                       III.
                                             REQUEST FOR DISCLOSURE

                    3.      Enterprise Products Operating LLC hereby requests that Plaintiffs disclose, within

             thirty days of service, the information or material described in Rule 194.2 of the Texas Rules of

             Civil Procedure.




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                                                           IV.
                                                       CONCLUSION

                    4.      The Enterprise Defendants respectfully request that Plaintiffs take nothing against

             them by Plaintiffs’ Original Petition, that judgment on Plaintiffs’ claims be entered in favor of the

             Enterprise Defendants and against Plaintiffs, and that the Enterprise Defendants be awarded any such

             other and further relief, in law or equity, to which they may show themselves justly entitled.



                                                  [Signature Page Follows]




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             Dated: October 2, 2020                    Respectfully submitted,

                                                       HARTLINE BARGER LLP
                                                       /s/ Darrell L. Barger
                                                       Darrel L. Barger
                                                       Texas Bar No. 01733800
                                                       Michel G. Terry
                                                       Texas Bar No. 19799800
                                                       800 N. Shoreline Blvd., Suite 2000
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                                                       T. (361) 866-8001
                                                       F. (361) 866-8039
                                                       dbarger@hartlinebarger.com
                                                       mterry@hartlinebarger.com

                                                       CANALES LAW FIRM, PLLC
                                                       /s/ Hector Canales
                                                       Hector Canales
                                                       Texas Bar No. 24006951
                                                       2601 Morgan Ave.
                                                       Corpus Christi, Texas 787405
                                                       T. (361) 883-0601
                                                       F. (361) 884-7023
                                                       hector@canaleslawoffice.com

                                                       VINSON & ELKINS LLP
                                                       /s/ Patrick W. Mizell
                                                       Patrick W. Mizell
                                                       Texas Bar No. 14233980
                                                       D. Ferguson McNiel
                                                       Texas Bar No. 13830300
                                                       Matthew Hoffman
                                                       Texas Bar No. 24068697
                                                       Brooke A. Noble
                                                       Texas Bar No. 24110166
                                                       1001 Fannin St., Suite 2500
                                                       Houston, Texas 77002-6760
                                                       T. (713) 758-2932
                                                       F. (713) 615-5912
                                                       pmizell@velaw.com
                                                       fmcniel@velaw.com
                                                       mhoffman@velaw.com
                                                       bnoble@velaw.com

                                                       ATTORNEYS FOR THE ENTERPRISE
                                                       DEFENDANTS




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                                              CERTIFICATE OF SERVICE

                    I hereby certify that on October 2, 2020, a true and correct copy of the foregoing instrument
             has been served on all counsel of record via electronic filing:

                    Michael M. Guerra
                    LAW OFFICES OF MICHAEL M. GUERRA
                    BBVA Compass Bank Building
                    3900 N. 10th Street, Suite 850
                    McAllen, Texas 78501
                    everyone@mmguerra.com

                    Attorney for Plaintiffs



                                                                  /s/ Matthew C. Hoffman
                                                                  Matthew C. Hoffman




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                                             CAUSE NO. 2020CCV-61221-3

             KARLA CAVAZOS, Individually and as
                                            §                          IN THE COUNTY COURT AT LAW
             Personal Representative of the Estate of
                                            §
             ARTURO AMERICO CAVAZOS and as  §
             Next Friend of M.C., Minor; ARTURO
                                            §
             CAVAZOS, Individually and as Heir of
                                            §
             the Estate of ARTURO CAVAZOS;  §
             BERTHA CAVAZOS, Individually and as
                                            §
             Heir of the Estate of ARTURO CAVAZOS,
                                            §
                                            §
                          Plaintiffs,       §
             v.                             §                                                      NUMBER 3
                                            §
             ORION MARINE GROUP, LLC; ORION §
             MARINE CONSTRUCTION, INC.;     §
             ORION CONSTRUCTION, L.P.; EPIC §
             MIDSTREAM HOLDINGS, LP; EPIC   §
             MIDSTREAM HOLDINGS GP, LLC;    §
             EPIC CRUDE HOLDINGS, LP; EPIC  §
             CRUDE TERMINAL COMPANY, LP;    §
             ENTERPRISE PRODUCTS OPERATING §
             LLC; and ENTERPRISE PRODUCTS   §
             PARTNERS L.P.,                 §
                                            §
                          Defendants.       §                                    NUECES COUNTY, TEXAS

                                                     VERIFICATION

                    My name is Patrick W. Mizell. I am an attorney with the law firm Vinson & Elkins, LLP

             in Houston, Texas. I am over twenty-one years of age, of sound mind, and in all ways competent

             to make this declaration. I have personal knowledge of the matters contained herein.

                    I submit this declaration in connection with the Original Answer of Defendants Enterprise

             Products Operating LLC and Enterprise Products Partners L.P. (the “Original Answer”). I am

             authorized to act for and on behalf of Enterprise Products Partners L.P. In acting in that capacity,

             I have read the Original Answer, and every factual statement contained in paragraph II.2.d of the

             Original Answer is within my personal knowledge and true and correct.




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                    My name is Patrick W. Mizell, my date of birth is November 30, 1963, and my business

             address is 1001 Fannin Street, Suite 2500, Houston, Texas 77002, United States. I declare under

             a penalty of perjury that the foregoing is true and correct.


                    Executed in Harris County, State of Texas, on the 2nd day of October, 2020.


                                                                    ___________________________________
                                                                    Patrick W. Mizell




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